Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19   PageID.386   Page 1 of 26




                     EXHIBIT 1
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                               PageID.387        Page 2 of 26



                                            UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF MICHIGAN


                AARON SMITH, individually and on behalf
                of all similarly situated individuals,

                      Plaintiff,                                      Case No. 2:18-cv-10501-DML-RSW

                              v.                                      Hon. David M. Lawson
                                                                      Magistrate Judge R. Steven Whalen
                SILVERSTAR DELIVERY, LTD.,
                AMAZON.COM, LLC, and
                AMAZON.COM SERVICES, INC.,

                      Defendants.



                   FIRST AMENDED JOINT STIPULATION OF SETTLEMENT AND RELEASE

                   This First Amended Joint Stipulation of Settlement and Release (the “Agreement”) is
            entered into by and between Named Plaintiff (as hereinafter defined), Claimants (as hereafter
            defined), , and Defendants Silverstar, LTD. (“Silverstar”), Amazon.com, LLC, and Amazon.com
            Services, Inc. (collectively, “Amazon”) (hereinafter “Defendants”).1

                                                             RECITALS

                    WHEREAS Plaintiff Aaron Smith, a former employee at Silverstar, filed the case
            titled Aaron Smith, individually and on behalf of all similarly situated individuals v.
            Silverstar, LTD., Amazon.com, LLC, and Amazon.com Services, Inc., Case No. 2:18-cv-
            10501-DML-RSW, currently pending before the United States District Court for the
            Eastern District of Michigan, alleging claims of unpaid overtime wages and improper
            recordkeeping on behalf of himself and those similarly situated under the Fair Labor
            Standards Act, 29 U.S.C.§ 201, et seq. (“FLSA”);

                   WHEREAS, Plaintiff has sought the recovery of, among other things, minimum wages,
            overtime wages, straight-time wages, liquidated damages, attorneys’ fees, and costs;

                    WHEREAS, Defendants deny and continue to deny all of the allegations made by
            Plaintiff and deny and continue to deny that they are liable or owe damages to anyone with
            respect to the alleged facts or causes of action alleged, or that any claims asserted by Plaintiff
            may proceed on a class or collective action basis. Nonetheless, without admitting or conceding

            1
             This Agreement replaces the original Joint Stipulation of Settlement and Release that the Parties negotiated and
            executed or around November 15, 2018. The original Joint Stipulation of Settlement and Release is no longer valid
            and binding as of the date of execution of this Agreement. This Agreement constitutes the full agreement of the
            Parties, hereto.
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                      PageID.388       Page 3 of 26



            any arguments, issues, liability, or damages whatsoever, including that Amazon is a joint
            employer of Plaintiff or anyone on whose behalf Plaintiff has attempted to bring claims, or that
            any claims alleged may proceed on a class or collective action basis, Defendants have agreed to
            settle the claims on the terms and conditions set forth in this Agreement to avoid the burden and
            expense of continuing to defend against litigation;

                   WHEREAS, on or around November 15, 2018, the Parties executed a Joint Stipulation of
            Settlement and Release and Plaintiff filed his Unopposed Motion for Approval of Collective
            Action Settlement and Plaintiff’s Attorneys’ Fees and Costs (“First Approval Motion”), which
            sought: (a) approval of the settlement; (b) conditional certification of a collective action under
            29 U.S.C. §215(b) for settlement purposes only; (c) approval of the form and manner of notice to
            putative collective action members; (4) approval of Plaintiff’s service award; (5) approval of the
            award of Plaintiff’s litigation expenses and Plaintiff’s counsels’ fees and costs; and (6) dismissal
            without prejudice, to convert to a with prejudice dismissal in six months, with each party to bear
            its own fees and costs except as otherwise provided in the settlement and by Court order.

                    WHEREAS, on January 4, 2019, the Court granted in part and denied in part the First
            Approval Motion, ordering that: (1) the case is conditionally certified as a collective action, with
            the collective defined as “all individuals, including plaintiff, employed by Silverstar Delivery,
            LTD as delivery drivers who delivered packages to Amazon’s customers in Michigan and who
            worked during the time period between three years from the date of when the individual opted
            into the lawsuit or October 6, 2016, whichever date is earlier, through January 24, 2018; and (2)
            the motion is denied without prejudice in all other respects and plaintiff may renew his motion
            for preliminary approval of the settlement after the opt-in period expires;

                   WHEREAS, on January 18, 2019, the Court issued its Order Approving Notice
            Procedure, approving the form and content of notice, as well as proposed Consent to Join form;
            and notice was subsequently disseminated through the Parties’ chosen settlement administrator,
            RG/2 Claims Administration LLC;

                   WHEREAS, Notice issued on or around February 12, 2019 and the deadline for
            individuals to return their Consents to Join was on or around April 12, 2019;

                   WHEREAS, in addition to Plaintiff Smith, 57 individuals have joined the case either
            before or during the Court-ordered opt-in period;

                 WHEREAS, Class Counsel (as hereinafter defined) has interviewed Plaintiff and other
            FLSA Collective Members and reviewed and analyzed documents produced by Defendants;

                    WHEREAS, Class Counsel has analyzed and evaluated the merits of the claims made
            against Defendants, and the impact of this Agreement on Plaintiff and the FLSA Collective;

                    WHEREAS, based upon their analysis and their evaluation of a number of factors, and
            recognizing the substantial risks of litigation with respect to certain claims, including the
            possibility that any litigation might result in a recovery that is less favorable to the FLSA
            Collective, and that would not occur for several years, or at all, Class Counsel is satisfied that the
            terms and conditions of this Agreement are fair, reasonable, and adequate and that this
            Agreement is in the best interests of the FLSA Collective;
                                                              2
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                     PageID.389      Page 4 of 26



                    NOW, THEREFORE, in consideration of the mutual covenants and promises set forth in
            this Agreement, as well as the good and valuable consideration provided for herein, the Parties
            hereto agree to a full and complete settlement of the claims at issue on the following terms and
            conditions:

            1.      DEFINITIONS

                    The defined terms set forth herein shall have the meanings ascribed to them below.

            1.1     Agreement. “Agreement” shall mean this Joint Stipulation of Settlement and Release,
                    and all exhibits.

            1.2     Applicable Hours. “Applicable Hours” shall mean, as reflected on Silverstar’s internal
                    records, any hours an FLSA Collective Member of Silverstar worked as a delivery driver
                    delivering packages to Amazon’s customers in Michigan between three years from the
                    date of when the individual opted into the lawsuit or October 6, 2016, whichever date is
                    earlier, through January 24, 2018 and for which his or her employer did not pay overtime
                    wages for the workweek worked.

            1.3     Claimant. “Claimant” shall mean any FLSA Collective Member who timely submits a
                    valid and complete Consent to Join Form on or before the Consent to Join Deadline in
                    accordance with Section 2.3 of this Agreement, or a FLSA Collective Member whose
                    Consent to Join Form is accepted in accordance with Section 3.4 below. There are
                    currently 58 Claimants, including Plaintiff Aaron Smith, who is also a Claimant.

            1.4     Claims Administrator. “Claims Administrator” shall mean the entity selected by the
                    Parties to provide notice to the Collective and administer payment of the settlement to
                    FLSA Collective Members. The Parties have selected RG/2 Claims Administration LLC
                    to act as the Claims Administrator.

            1.5     Class Counsel. “Class Counsel” shall mean Laura Reasons, Amy Keller, Kenneth
                    Abbarno, and Mark Abramowitz of DiCello Levitt Gutzler LLC.

            1.6     Complaint. “Complaint” shall mean the First Amended Collective Action Complaint that
                    Plaintiff filed in the Litigation (docket entry 10).

            1.7     Consent to Join Deadline. “Consent to Join Deadline” shall mean the date that is sixty
                    (60) days after the Claims Administrator mails the Consent to Join Forms to FLSA
                    Collective Members pursuant to Section 2.3 of this Agreement and the Court’s Order. If
                    the Claims Administrator re-mails the Consent to Join Form to any individual pursuant to
                    Section 2.3(C) of this Agreement because the first mailing was returned as undeliverable,
                    the Consent to Join Deadline for such individuals shall be the later of (a) sixty (60) days
                    after the original mailing to all Collective Members, or (b) thirty-five (35) days after the
                    re-mailing. If the Consent to Join Deadline falls on a Sunday or holiday, the deadline to
                    return Consent to Join Forms will be the next business day that is not a Sunday or
                    holiday.



                                                             3
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                     PageID.390      Page 5 of 26



            1.8     Consent to Join Form. “Consent to Join Form” shall mean the form provided to FLSA
                    Collective Members to submit in order to obtain their Individual Settlement Amount
                    pursuant to this Agreement. The Consent to Join Form shall be in the form agreed to by
                    the Parties and approved by the Court.

            1.9     Consent to Join Period. “Consent to Join Period” shall mean the period of time in
                    between the Administrator’s mailing of the Consent to Join Forms and the Consent to
                    Join Deadline.

            1.10    Court. “Court” shall mean the U.S. District Court for the Eastern District of Michigan.

            1.11    Covered Period. “Covered Period” shall mean October 6, 2016 (or three years before the
                    date when an individual opted into this Litigation, whichever is earlier) to January 24,
                    2018.

            1.12    Defendants. “Defendants” shall mean Silverstar and Amazon, the Defendants in this
                    action.

            1.13    Defense Counsel. “Defense Counsel” shall mean Stephanie L. Sweitzer, and Meredith E.
                    Riccio of Morgan, Lewis & Bockius LLP, and Daniel L. Villaire of Howard & Howard
                    Attorneys.

            1.14    Effective Date. The “Effective Date” shall mean the date on which the Court enters the
                    Order Granting Approval and Dismissing the Action.

            1.15    Escrow Account. “Escrow Account” shall mean the FDIC insured interest-bearing
                    account(s) created and controlled by the Claims Administrator.

            1.16    Final Individual Settlement Amount. “Final Individual Settlement Amount” shall mean
                    the final gross amount (not including any Service Award amount) sent to Plaintiff or any
                    Claimant under this Agreement.

            1.17    FLSA Collective; FLSA Collective Member. “FLSA Collective” shall mean individuals
                    employed by Silverstar as delivery drivers who delivered packages to Amazon’s
                    customers in Michigan and who worked during the Covered Period. A member of the
                    FLSA Collective is a “FLSA Collective Member.”

            1.18    Individual Settlement Amount. “Individual Settlement Amount” shall mean the amount
                    offered to each FLSA Collective Member pursuant to Section 3 of this Agreement.

            1.19    Litigation. “Litigation” shall mean the case titled Smith v. Silverstar, LTD, et al., Case
                    No. 2:18-cv-10501-DML-RSW, pending in the U.S. District Court for the Eastern
                    District of Michigan.

            1.20    Maximum Settlement Amount. “Maximum Settlement Amount” shall have the
                    meaning defined in Section 3.1 below.



                                                             4
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                       PageID.391     Page 6 of 26



            1.21    Net Settlement Fund. “Net Settlement Fund” shall mean the remainder of the Settlement
                    Fund after deductions for court-approved attorneys’ fees and costs as described in Section
                    3.2 and court-approved service payments to Plaintiff as described in Section 3.3. The Net
                    Settlement Fund shall be used to pay all amounts due to Claimants.

            1.22    Order Granting Approval and Dismissing the Action. “Order Granting Approval and
                    Dismissing the Action Without Prejudice, to Automatically Convert to With Prejudice”
                    or “Order Granting Approval” shall mean the Order entered by the Court approving, inter
                    alia, the terms and conditions of this Agreement, and dismissing the case without
                    prejudice, to automatically convert to a with prejudice dismissal within three (3) months
                    following the entry of the Order Granting Approval. A proposed version of the Order
                    Granting Approval shall be submitted to the Court in the form attached hereto as Exhibit
                    A.

            1.23    Parties. “Parties” shall refer to the Plaintiff and Defendants.

            1.24    Plaintiff. “Plaintiff” shall mean Aaron Smith, and shall also include any and all of his
                    representatives, heirs, administrators, executors, beneficiaries, agents, and assigns of such
                    individuals, as applicable and without limitation.

            1.25    Releasees. “Releasees” shall mean the Defendants and their present and former affiliates,
                    divisions, members, joint venture partners, subsidiaries, parents, predecessors, any
                    merged entity or merged entities and/or its or their present and former officers, partners,
                    directors, employees, agents, attorneys, shareholders and/or successors, insurers or
                    reinsurers, employee benefit plans (and the trustees, administrators, fiduciaries, agents,
                    representatives, insurers and reinsurers of such plans), assigns, trustees, heirs,
                    administrators, executors, representatives and/or principals thereof, and all persons or
                    entities acting by, through, under or in concert with any of them, and any individual or
                    entity that could be jointly liable with any of them.

            1.26    Settlement. The “Settlement” shall mean the settlement embodied in this Agreement, and
                    all exhibits.

            1.27    Settlement Administration Expenses. “Settlement Administration Expenses” are those
                    expenses incurred and charged by the Claims Administrator in effectuating the
                    Settlement. They include the Claims Administrator’s invoices, the costs of administering
                    the Escrow Account, and any other cost or expense other than the Final Individual
                    Settlement Amounts, Attorneys’ Fees and Costs as awarded by the Court, and Plaintiff’s
                    Service Award, as awarded by the Court. Defendants will be solely responsible for
                    paying the Settlement Administration Expenses, which will be paid by Defendants
                    separate and apart from the Settlement Fund or Net Settlement Fund. The Settlement
                    Administration Expenses will not come out of the Settlement Fund or Net Settlement
                    Fund.

            1.28    Settlement Fund. The “Settlement Fund” shall be the settlement fund created by the
                    payment by the Defendants of up to the Maximum Settlement Amount of One Hundred
                    Fifty Thousand Dollars ($150,000).

                                                              5
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                     PageID.392       Page 7 of 26



            1.29    Unclaimed Funds. “Unclaimed Funds” shall mean the aggregate amount of Individual
                    Settlement Amounts not claimed by FLSA Collective Members in a timely and valid
                    manner pursuant to Section 2.3 of this Agreement, or not otherwise accepted pursuant to
                    Section 3.4.

            2.      APPROVAL AND COLLECTIVE NOTICE

            2.0     Stipulation to Certification. The Parties stipulate, for settlement purposes only, to the
                    certification by the Court of a collective action as to all claims encompassed by this
                    Settlement pursuant to the FLSA. If for any reason the Court does not approve this
                    stipulation or does not enter an Order Granting Approval, or if this Settlement is lawfully
                    terminated for any other reason, the preliminary and conditional certification of the FLSA
                    Collective shall become null and void. The fact of certification shall not be cited to, used,
                    or admissible in any other judicial, administrative, or arbitral proceeding for any purpose
                    or with respect to any issue, substantive or procedural. If this Agreement is revoked at
                    any time, pursuant to Sections 2.6 and/or 2.7 of this Agreement, or otherwise, Defendants
                    agree that they will cooperate with Plaintiff to move the Court for an order resetting the
                    remaining deadlines, including the deadline for Plaintiff’s motion for conditional
                    certification.

            2.1     Retention of Claims Administrator. The parties have identified RG/2 Claims
                    Administration LLC to act as the Claims Administrator, and Defendants, as stated herein,
                    shall pay the Claims Administrator’s expenses and fees. The Claims Administrator shall
                    be responsible for the claims administration process and distributions to Claimants as
                    provided herein, as well as for making any mailings and performing other services as
                    required under this Agreement. The Claims Administrator will provide equal access and
                    reporting regarding the settlement to all Parties. The Parties agree to cooperate with the
                    Claims Administrator and assist it in administering the Settlement.

            2.2     Final Order and Approval by the Court. As soon as practicable and without undue
                    delay, and no later than June 10, 2019, the Parties agree to renew their motion in order to
                    jointly seek the Court’s approval of the terms of this Agreement and to dismiss the
                    Litigation without prejudice, to automatically convert to a with prejudice dismissal within
                    sixty (60) days following the entry of the Order Granting Approval.

                    (A)      A condition precedent to this Agreement is the Court’s approval of the Order
                             Granting Approval, in substantially the same form as Exhibit A. The Parties agree
                             to jointly seek approval of the Settlement by filing with the Court a Renewed
                             Motion for Approval of Settlement.

                    (B)      The parties shall provide to the Court for review and approval this Agreement,
                             with exhibit A, the proposed Order Granting Approval and Dismissing the Action
                             Without Prejudice, and such other information as the Court may request.

            2.3     Collective Notice and FLSA Collective Member Consent to Join Forms

                    (A)      Notice has already issued pursuant to the Court’s January 4, 2019 Order.
                             Including Plaintiff Smith, 58 FLSA Collective Members have filed their Consent
                                                              6
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                       PageID.393      Page 8 of 26



                             to Join Forms to join the case as Claimants, either before or during the Court-
                             ordered and approved opt-in period.

            2.4     Entry of Judgment. In their proposed Order Granting Approval, the Parties will request
                    that the Court, among other things, (a) enter Judgment in accordance with the terms of
                    this Agreement, (c) approve the Settlement as fair, adequate, reasonable, and binding on
                    Plaintiff and all Claimants, (d) dismiss the Litigation without prejudice, to convert to a
                    with prejudice dismissal in three (3) months, (e) enter an order permanently enjoining
                    Plaintiff and all Claimants from pursuing and/or seeking to reopen claims that have been
                    released by this Agreement, and (f) incorporate the terms of this Settlement and Releases.

            2.5     Right to Revoke. Defendants or Plaintiff have the right to withdraw from the Settlement
                    at any time prior to the entry of the Order Granting Approval if: (a) the terms of this
                    Agreement construed by the Court are materially different from the Parties’ Agreement;
                    or (b) one Party materially breaches the Agreement. Before withdrawing from the
                    Settlement, any Party must give the remaining Parties fourteen (14) days advanced notice
                    of their intent to withdraw, the reasons for their intent to withdraw, and provide the
                    remaining Parties an opportunity to cure any alleged breach of the Agreement before any
                    withdrawal. If there is a dispute over whether a Party’s withdrawal from the settlement is
                    allowed under this provision, then the dispute shall be decided finally by David Calzone,
                    the Mediator serving as an arbitrator on this issue.

            2.6     Effect of Revocation or Failure to Grant Final Approval. In the event any Party
                    revokes the Settlement pursuant to Section 2.5, (i) this Agreement shall have no force or
                    effect, other than the non-admission provisions in Section 3.11; (ii) neither this
                    Agreement, nor any other related papers or orders, nor the negotiations leading to the
                    Settlement, shall be cited to, used, or admissible in any judicial, administrative, or arbitral
                    proceeding for any purpose or with respect to any issue, substantive or procedural; (iii)
                    the request for conditional certification of the collective shall become null and void, and
                    the request for certification shall not be cited to, used, or admissible in any judicial,
                    administrative, or arbitral proceeding for any purpose or with respect to any issue,
                    substantive or procedural; (iv) none of the Parties will be deemed to have waived any
                    claims, objections, defenses, or arguments with respect to the issue of collective action
                    certification or the merits of Plaintiff’ claims or any other issue; and (v) the Litigation
                    will continue as if the Agreement had never been entered. If this Agreement is revoked
                    at any time, pursuant to Sections 2.5 and/or 2.6 of this Agreement, or otherwise,
                    Defendants agree that they will cooperate with Plaintiff to move the Court for an order
                    resetting the remaining deadlines, including the deadline for Plaintiff’s motion for
                    conditional certification.

            3.      SETTLEMENT TERMS

            3.1     Settlement Payment.

                    (A)      Defendants agree to pay a maximum of One Hundred Fifty Thousand Dollars
                             ($150,000) (the “Maximum Settlement Amount”), which shall resolve and satisfy
                             all monetary obligations under this Agreement (except Settlement Administration

                                                              7
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                     PageID.394       Page 9 of 26



                             Expenses), including all attorneys’ fees, litigation costs, payments to Claimants,
                             all payroll taxes and all other applicable taxes (with the sole exception and
                             exclusion of any employer’s share of payroll taxes as described in Section 3.6),
                             interest, and Service Awards. Other than Silverstar’s share of payroll taxes as
                             described in Section 3.6 and the Settlement Administration Expenses, as defined
                             in Section 1.27, Defendants shall not pay more than the Maximum Settlement
                             Amount.

                    (B)      When and if the Court enters the Order Granting Approval, Defendants shall
                             deposit into the Escrow Account the Maximum Settlement Amount (except the
                             amounts that will revert to Defendants pursuant to this Agreement, because they
                             are unclaimed by FLSA Collective Members who did not return Consent to Join
                             forms to become Claimants) and the employers’ share of payroll taxes due on the
                             settlement awards to Claimants pursuant to the following schedule.

                             (1)     Within thirty (30)) days of the Order Granting Approval Defendant
                                     Silverstar will deposit the estimated amount of Administration Costs to the
                                     Administrator. Defendants will inform Class Counsel of the amount
                                     deposited;

                             (2)     Within thirty (30) days of Order Granting Approval Defendant Silverstar
                                     will deposit the amount of Fifty Thousand and 00/100 ($50,0000.00).

                             (3)     Within sixty (60) days of Order Granting Approval Defendant Silverstar
                                     will deposit the amount of Fifty Thousand and 00/100 ($50,000.00).

                             (4)     Within ninety (90) days of Order Granting Approval Defendant Silverstar
                                     will deposit the amount of Fifty Thousand and 00/100 ($50,000.00), and
                                     the employers’ share of payroll taxes due on the settlement awards to
                                     Class Members.

                    (C)      Any interest accrued from the Escrow Account, net of taxes and any fees
                             associated with investing such amount, shall immediately be added to and become
                             part of the Settlement Fund.

                    (D)      Settlement payments will be made on a claims-made basis only, to FLSA
                             Collective Members who have become Claimants by submitting their Consent to
                             Join forms. The Claims Administrator will calculate the final amounts due to each
                             Claimant as the Final Individual Settlement Amount and issue checks payable to
                             the Claimants.

                    (E)      Within sixty (60) calendar days following the Order Granting Approval, the
                             Claims Administrator will make the following distributions of money from the
                             Escrow Account:

                             (1)     Paying Class Counsel Court-approved attorneys’ fees, reasonable costs
                                     and expenses, as approved by the Court and as described in Section 3.2,


                                                              8
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                     PageID.395      Page 10 of 26



                                     which shall not exceed $50,000 of the Maximum Settlement Amount,
                                     subject to Court approval.

                    (F)      Within ninety (90) calendar days following the Consent to Join Deadline, the
                             Claims Administrator will make the following distributions of money from the
                             Escrow Account:

                             (1)     Paying Service Awards in the amounts described in Section 3.3, subject to
                                     Court approval and provided the recipients have executed their respective
                                     releases pursuant to Section 3.8.

                             (2)     Paying Claimants their Final Individual Settlement Amounts as described
                                     in Section 3.6.

                    (G)      The Parties agree that the Escrow Account is intended to be a “Qualified
                             Settlement Fund” under Section 468B of the Internal Revenue Code of 1986, as
                             amended (the “Code”), 26 U.S.C. Section 468B and Treas. Reg. §1.468B-1, 26
                             C.F.R § 1.468B-1, et seq., and will be administered by the Claims Administrator
                             as such. The Claims Administrator shall apply for an employer identification
                             number (“EIN”) for the Escrow Account pursuant to Internal Revenue Service
                             (“IRS”) Form SS-4, and in accordance with Treas. Reg. §1.468B-2(k)(4), 26
                             C.F.R § 1.468B-2(k)(4). With respect to the Escrow Account, the Claims
                             Administrator shall: (1) calculate, withhold, remit and report each Claimant’s
                             share of applicable payroll taxes (including, without limitation, federal, state and
                             local income tax withholding, FICA, Medicare and any state or local employment
                             taxes), and indemnify Defendants for any penalty arising out of any error or
                             incorrect calculation and/or interest with respect to any late deposit of the same;
                             (2) satisfy all federal, state and local and income and other tax reporting, return
                             and filing requirements with respect to the Escrow Account; and (3) satisfy out of
                             the Escrow Account all (i) taxes (including any estimated taxes, interest or
                             penalties) with respect to the interest or other income earned by the Escrow
                             Account, and (ii) fees, expenses and costs incurred in connection with the opening
                             and administration of the Escrow Account and the performance of its duties and
                             functions as described in this Stipulation. The aforementioned taxes, fees, costs
                             and expenses shall be treated as and included in the costs of administering the
                             Escrow Account, which are included in the Settlement Administration Expenses,
                             to be paid by Defendants outside of the Settlement Fund and the Net Settlement
                             Fund. The Parties and the Claims Administrator shall elect to treat the Settlement
                             Fund as coming into existence as a Qualified Settlement Fund on the earliest date
                             set forth in Treas. Reg. §1.468B-1(j)(2)(i), 26 C.F.R §1.468B-1(j)(2)(i), and that
                             such election statement shall be attached to the appropriate returns as required by
                             Treas. Reg. §1.468B-1(j)(2)(ii), 26 C.F.R §1.468B-1(j)(2)(ii). The Parties agree to
                             cooperate with the Claims Administrator and one another to the extent reasonably
                             necessary to carry out the provisions of this Section 3.1(E). The Claims
                             Administrator will agree to indemnify and hold harmless the Parties for and
                             against any claims or liabilities resulting from errors or omissions in its
                             administration of the Escrow Account. The Defendants (or some other person on

                                                              9
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                      PageID.396      Page 11 of 26



                             behalf of the Defendants) shall supply to the Claims Administrator and to the IRS
                             the statement described in Treas. Reg. §1.468B-3(e)(2), 26 C.F.R §1.468B-
                             3(e)(2), no later than February 15th of the year following each calendar year in
                             which the Defendants (or some other person on behalf of the Defendants) makes a
                             transfer to the Escrow Account.

                    (H)      The payments pursuant to Section 3.6 shall be considered compensation for
                             disputed unpaid wages, penalties, and interest, as set forth in Section 3.7 during
                             the period of employment or alleged employment or joint employment with any
                             of the Defendants by the Plaintiff and/or Claimants only.

                    (I)      It is intended that all transfers by Defendants to the Escrow Account will satisfy
                             the “all events test” and the “economic performance” requirement of Section
                             461(h)(1) of the Code, 26 U.S.C. Section 461(h)(1), and Treas. Reg. § 1.461-
                             1(a)(2), 26 C.F.R. § 1.461-1(a)(2). As such, Defendants shall not be taxed on any
                             income of the Escrow Account.

            3.2     Settlement Amounts Payable as Attorneys’ Fees and Costs.

                    (A)      Prior to the Court ruling on the Parties’ Order Granting Approval, Class Counsel
                             shall petition the Court for attorneys’ fees and reimbursement of reasonable
                             litigation costs and expenses from the Settlement Fund of up to $50,000, and
                             Defendants shall take no position on Class Counsel’s petition for fees and costs.
                             Defendants shall have no additional liability for attorneys’ fees and costs relating
                             to the Litigation, the Settlement, or any claims or theories released by this
                             Settlement.

                    (B)      The substance of Class Counsel’s application for attorneys’ fees and costs is not
                             part of this Agreement and is to be considered separately from the Court’s
                             consideration of the fairness, reasonableness, adequacy, and good faith of the
                             settlement of the Litigation. The outcome of any proceeding related to Class
                             Counsel’s application for attorneys’ fees and costs shall not terminate this
                             Agreement or otherwise affect the Court’s ruling on the Motion for Approval of
                             Settlement. Attorneys’ fees and costs sought by Class Counsel but not awarded
                             shall return to the Net Settlement Fund.

            3.3     Service Award to Plaintiff. Class Counsel will apply to the Court for the Plaintiff to
                    receive a Service Award from the Settlement Fund for services rendered to the FLSA
                    Collective, not to exceed One Thousand Dollars ($1,000). Defendants will not oppose
                    such application provided it is made in accordance with the terms of this Stipulation. The
                    outcome of the Court’s ruling on the application for a Service Award shall not terminate
                    this Agreement or otherwise affect the Court’s ruling on the Motion for Approval of
                    Settlement. The amount of the Service Award sought but not awarded shall return to the
                    Net Settlement Fund.

            3.4     Untimely, Deficient, or Disputed Claims. The Claims Administrator shall promptly
                    advise counsel for the Parties of any FLSA Collective Members who file late or deficient

                                                              10
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                     PageID.397       Page 12 of 26



                    claims, who dispute their allocation based on the settlement formula, or who have come
                    forward as individuals who were not identified as FLSA Collective Members but who
                    seek to participate, and any correspondence must also be sent—via carbon copy over
                    electronic mail—to Class Counsel. Silverstar’s personnel records reflecting dates the
                    FLSA Collective Member worked during the Covered Period are presumed to be correct
                    unless that individual submits documents proving otherwise. Defendants shall initially
                    recommend to the Claims Administrator whether such individuals or any others may
                    participate in the Settlement, and whether their allocation based on the settlement formula
                    should be corrected (if applicable). Defendants must inform Class Counsel of their
                    recommendation and reasoning. If Class Counsel does not agree with Defendants’
                    recommendation, the Parties will meet and confer to attempt to resolve the disagreement.
                    If they cannot, the disagreement will be submitted to David Calzone, the Mediator acting
                    as arbitrator. If accepted (by the Claims Administrator or Parties, or through decision of
                    the Mediator acting as arbitrator), such individuals shall be considered Claimants for all
                    purposes under this Agreement. Any FLSA Collective Members whose Consent to Join
                    Forms are accepted or whose allocation is permitted to be increased in accordance with
                    this Section at least seven (7) or more days prior to the distribution of the Final Individual
                    Settlement Amount shall be paid from the Net Settlement Fund and the calculations of
                    the Final Individual Settlement Amount for all other Claimants adjusted as necessary in
                    accordance with Section 3.6(C). Any FLSA Collective Members whose Consent to Join
                    Forms are accepted or whose allocation is permitted to be increased in accordance with
                    this Section after the date that is less than seven (7) days prior to the distribution of the
                    Final Individual Settlement Amount, or after the distribution, shall be paid from the
                    “Unclaimed Funds” as defined herein. Once Unclaimed Funds no longer remain to accept
                    additional claims or adjust allocations, no further claims shall be accepted, or changes to
                    allocations made. In no event shall the acceptance of any Consent to Join Forms or
                    changes to allocations in accordance with this Section result in Defendants being required
                    to pay more than the Maximum Settlement Amount of One Hundred Fifty Thousand
                    Dollars ($150,000).

            3.5     Distribution to Claimants.

                    (A)      The Net Settlement Fund shall be the amount of money remaining from the One
                             Hundred Fifty Thousand Dollars ($150,000) Settlement Fund after deducting
                             (a) attorneys’ fees and costs approved by the Court, pursuant to Section 3.2; and
                             (b) Service Awards approved by the Court pursuant to Section 3.3. Subject to the
                             allocations listed above, the Net Settlement Fund shall be allocated as follows:

                             (1)     Each Claimant’s Individual Settlement Amount will be calculated as their
                                     pro rata share of the Net Settlement Fund, based on the Claimant’s Total
                                     Overtime Hours worked during the relevant time period as a percentage of
                                     the total aggregate of all Overtime Hours worked by All FLSA Collective
                                     Members during the relevant time period. Each Claimant’s Individual
                                     Settlement Amount will be calculated per workweek based on the
                                     following formulas:



                                                             11
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                      PageID.398       Page 13 of 26



                                     Claimant’s Hours = hours worked reflected in Silverstar’s data + one
                                     additional hour per day actually worked.

                                     Claimant’s Total Overtime Hours = Claimant’s Hours - 40

                                     All FLSA Collective Members’ Hours = hours reflected in Silverstar’s
                                     data for all FLSA Collective Members + one additional hour per day
                                     actually worked, per FLSA Collective Member

                                     All FLSA Collective Members’ Overtime Hours = All FLSA Collective
                                     Members’ Hours - 40

                                     Individual Settlement Amount (weekly) = (Claimant’s Total Overtime
                                     Hours / All FLSA Collective Members’ Overtime Hours) * Net Settlement
                                     Fund

                                     Individual Settlement Amount = the aggregate of all weekly amounts.

                             Each Claimant will receive a payment of their Individual Settlement Amount
                             pursuant to these formulas, or $50.00, whichever is greater. To the extent $50.00
                             minimum payments create a shortfall based on the above-described calculation,
                             each Claimant’s Individual Settlement Payment will be reduced based on the
                             Claimant’s pro rata share of the Net Settlement Fund.

                    (B)      If the parties cannot agree on any aspect of the allocation formula, then their
                             dispute shall be decided finally by David Calzone, the Mediator, serving as an
                             arbitrator on this issue. Should it become necessary to engage the Mediator to
                             arbitrate a dispute over the allocation formula, the Parties will split evenly the
                             Mediator’s costs.

                    (C)      Any funds in the Net Settlement Fund that are not claimed (“Unclaimed Funds”)
                             shall remain the property of Defendants (except as used to pay the Final
                             Individual Settlement Amount of any FLSA Collective Member whose Consent to
                             Join Form is accepted or whose allocation is permitted to be increased, in
                             accordance with Section 3.4 of the Agreement) and, if Defendants have paid such
                             amounts to the Claims Administrator, such amounts shall be returned to
                             Defendants by the Claims Administrator.

                    (D)      A Claimant’s Final Individual Settlement Amount shall be their Individual
                             Settlement Amount subject to any adjustments under Section 3.4. Attached
                             hereto as Exhibit B is the Payment Schedule, showing each Claimant’s Final
                             Individual Settlement Payment.

                    (E)      Names of Claimants and their allocation amounts shall be kept strictly
                             confidential by the Claims Administrator, which information will not be disclosed
                             except to Class Counsel and as is necessary to the administration and monitoring
                             of the settlement, including disclosure of the estimated Individual Settlement
                             Amounts calculated for FLSA Collective Members before the Notice is mailed.

                                                               12
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                   PageID.399      Page 14 of 26



                    (F)      Defendants and the Claims Administrator shall exchange such information as is
                             necessary and reasonably available for the Claims Administrator to make proper
                             tax withholdings and comply with tax reporting obligations as described in
                             Section 3.7, which information shall not be withheld from Class Counsel.

                    (G)      Claimants will have ninety (90) calendar days after each check date to redeem
                             their settlement payments. If Claimants do not redeem their settlement payment
                             checks within the ninety (90) day period, their settlement checks (the “Unclaimed
                             Checks”) will be void and a stop-payment will be placed. In such event, the
                             amounts associated with the Unclaimed Checks shall remain the property of
                             Defendants and shall be returned to Defendants by the Claims Administrator
                             (“Unclaimed Check Funds”). However, if any Claimant contacts Class Counsel
                             or the Claims Administrator requesting a new check within thirty (30) days
                             following when their check becomes void, they will be reissued a check out of the
                             Unclaimed Check Funds. In the event the Claimant does not redeem a reissued
                             settlement check within sixty (60) days of the date of reissue, the check will be
                             void and a stop-payment will be placed. The reissued Unclaimed checks will
                             become part of the Unclaimed Check Fund. Claimants who do not redeem their
                             settlement checks shall remain bound by this Settlement and the Release in
                             Section 3.8(A). This Stipulation and the associated Final Order and Judgment do
                             not and will not create any unpaid residue or unpaid residual with respect to the
                             Unclaimed Funds or Unclaimed Check Funds, and no distribution of such shall be
                             required. The provisions of any unclaimed property statute or law do not apply to
                             this action or this Stipulation. The outcome of any proceeding related to the
                             distribution of amounts associated with Unclaimed Checks shall not terminate this
                             Agreement or otherwise affect the Court’s ruling on the Motion for Approval of
                             Settlement.

                    (H)      All payments to Claimants made pursuant to this Agreement shall be deemed to
                             be paid to such Claimants solely in the year in which such payments actually are
                             received by the Claimants.

            3.6     Taxability of Settlement Payments.

                    (A)      For tax purposes, the payments to Claimants pursuant to Section 3.3 shall be
                             treated as non-wages.

                    (B)      Within twenty (20) calendar days following the Claims Form Deadline, Plaintiff
                             shall provide the Claims Administrator with a duly completed IRS Form W-9 or
                             applicable IRS Form W-8 together with any other documentation and information
                             requested by the Claims Administrator in connection with the Claims
                             Administrator’s tax reporting obligations under the Code. Plaintiff understands
                             that in the event valid U.S. tax forms or other required supporting documentation
                             are not provided to the Claims Administrator, the Claims Administrator may be
                             required to withhold tax from payments made pursuant to this Agreement. The
                             Claims Administrator shall report payments to Plaintiff and Claimants on the
                             applicable IRS Form 1099 as required by the Code.

                                                             13
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                     PageID.400       Page 15 of 26



                    (C)      For tax purposes, the payments to Plaintiff and Claimants pursuant to Section 3.6
                             shall be allocated as follows: unpaid wages (50% of each settlement payment),
                             and liquidated damages and interest (50% of each settlement payment).
                             Defendants shall cooperate with the Claims Administrator to timely arrive at an
                             amount equal to the employer’s share of the FICA tax and any federal and state
                             unemployment tax due that are traditionally borne by employers, with respect to
                             the amounts treated as wages and shall promptly pay such amounts to the QSF.
                             Defendants will be solely responsible for paying the employer’s share of payroll
                             taxes. The Claims Administrator shall be responsible for making all reporting,
                             deposits, and withholdings with respect to all amounts payable to Claimants
                             required pursuant to any federal, state, or local tax law or regulation hereunder
                             under the EIN of the Escrow Account or the Defendants as required by applicable
                             law.

                    (D)      Payments treated as wages pursuant to Sections 3.7(C) shall be made subject to
                             applicable withholding of the employees’ share of all applicable employment
                             taxes, including, without limitation, federal, state and local income tax
                             withholding and the FICA tax, and shall be reported by the QSF to the IRS and
                             the payee under the payee’s name and social security number on an IRS Form W-
                             2.

                    (E)      Within twenty (20) calendar days following the Order Granting Approval, Class
                             Counsel shall provide the Claims Administrator with a duly completed IRS Form
                             W-9. Payments of attorneys’ fees and costs pursuant to Section 3.2 shall be
                             reported by the Claims Administrator on the applicable IRS Form 1099 as
                             required by the Code and shall be made without withholding, provided the Claims
                             Administrator has timely received a duly completed Form W-9 from Class
                             Counsel.

                    (F)      As to the payments reported as non-wage income, Plaintiff and Claimants agree to
                             indemnify and hold harmless Defendants and Releasees for any taxes, penalties,
                             interest or other amounts due or owing by the Plaintiff and Claimants on such
                             1099 payments. Other than the standard withholdings from the wage portion of
                             the Individual Settlement Payments, as set forth above, and as required by law,
                             Defendants and the Claims Administrator will not make from the payment to each
                             Plaintiff or Claimant any deductions, withholdings, or additional payments,
                             including without limitation, medical or other insurance payments or premiums,
                             employee 401(k) contributions or matching employer contributions, wage
                             garnishments, or charity withholdings, and entry of the Final Order and Judgment
                             by the Court shall be deemed authority not to make such deductions,
                             withholdings, or additional payments. Any amount paid to Plaintiff or Claimants
                             shall not create any credit or otherwise affect the calculation of any deferred
                             compensation, benefit, pension, or other compensation or benefit plan provided
                             by Defendants.

                    (G)      Each individual Plaintiff and Claimant will be solely responsible for all taxes,
                             interest, penalties, or other amounts due with respect to any payment received

                                                              14
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                     PageID.401       Page 16 of 26



                             pursuant to this Agreement (other than FICA and any federal and state
                             unemployment taxes specified in Section 3.6, and the employer and employee’s
                             share of payroll taxes withhold pursuant to Section 3.6). Plaintiff acknowledges
                             and agrees that he has not relied upon any advice from Defendants as to the
                             taxability of the payments received pursuant to this Agreement.

                    (H)      The Claims Administrator shall handle all tax reporting with respect to the
                             payments made pursuant to this Agreement and shall report the payments in
                             accordance with applicable law.

            3.7     Release.

                    (A)      Release of Claims by Plaintiff. To the maximum extent permitted by law, the
                             Plaintiff generally release the Releasees from any and all claims, actions, causes
                             of action, lawsuits, debts, dues, sums of money, accounts, reckonings, bonds,
                             bills, specialties, covenants, contracts, bonuses, controversies, agreements,
                             promises, claims, charges, complaints and demands whatsoever, whether in law or
                             equity, known or unknown, which against the Releasees Plaintiff and his heirs,
                             executors, administrators, successors, and assigns, ever had, may now have, or
                             hereafter later determine that he or she has or had upon, or by reason of, any cause
                             or thing whatsoever, including, but not limited to relating to his or her
                             employment (or alleged employment or joint employment) or termination of
                             employment with any of the Defendants or Releasees, including, but not limited
                             to, claims arising under the Americans With Disabilities Act, the Age
                             Discrimination in Employment Act, the National Labor Relations Act, the Fair
                             Labor Standards Act, the Equal Pay Act, the Employee Retirement Income
                             Security Act of 1974, 29 U.S.C. § 1001 et seq., including but not limited to,
                             breach of fiduciary duty and equitable claims to be brought under §1132(a)(3) of
                             the Employee Retirement Income Security Act (“ERISA”), the Worker
                             Adjustment and Retraining Notification Act, Title VII of the Civil Rights Act of
                             1964, the Vocational Rehabilitation Act of 1973, the Civil Rights Acts of 1866,
                             1871 and 1991, including Section 1981 of the Civil Rights Act, the Family and
                             Medical Leave Act, the Elliott-Larsen Civil Rights Act, Michigan Persons With
                             Disabilities Civil Rights Act, Michigan Equal Pay Law, Michigan
                             Whistleblower's Protection Act, Michigan Minimum Wage Law of 1964,
                             Michigan Payment of Wages and Fringe Benefits Law, Sales Representatives
                             Commission Act, if applicable, Michigan WARN Laws, Bullard-Plawecki
                             Employee Right to Know Act, Social Security Number Privacy Act, ; Internet
                             Privacy Protection Act, Michigan Occupational Safety and Health Act, and/or any
                             other federal, state or local human rights, civil rights, wage-hour, pension or labor
                             law, rule, statute, regulation, constitution or ordinance and/or public policy,
                             contract or tort law, or any claim of retaliation under such laws, or any claim of
                             breach of any contract (whether express, oral, written or implied from any
                             source), or any claim of unjust enrichment, intentional or negligent infliction of
                             emotional distress, tortious interference with contractual relations, wrongful or
                             abusive or constructive discharge, defamation, prima facie tort, fraud, negligence,
                             loss of consortium, malpractice, breach of duty of care, breach of fiduciary duty

                                                              15
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                       PageID.402       Page 17 of 26



                             or any action similar thereto against Releasees, including any claim for attorneys’
                             fees, expenses or costs based upon any conduct from the beginning of the world
                             up to and including the Effective Date; provided, however, that Plaintiff does not
                             waive any right to file an administrative charge with the Equal Employment
                             Opportunity Commission (“EEOC”), subject to the condition that they agree not
                             to seek, or in any way obtain or accept, any monetary award, recovery or
                             settlement therefrom; and further provided, however, that Plaintiff does not
                             release any claim for breach of the terms of the Agreement.

                             This Settlement is intended to include in its effect all claims identified in this
                             Section 3.8(A), including claims that Plaintiff does not know or suspect to exist in
                             his favor against Releasees as of the Effective Date. Plaintiff agrees and
                             acknowledges that he has had the opportunity to seek the advice of counsel, and
                             that this is a knowing and voluntary waiver. Plaintiff shall be deemed to have
                             expressly waived and relinquished, to the fullest extent permitted by law, the
                             provisions, rights, and benefits he may otherwise have had relating to the claims
                             identified in this Section 3.8(A).

                             Plaintiff further agrees and acknowledges that he has not made any claims or
                             allegations related to sexual harassment or sexual abuse, and none of the
                             payments to him as set forth in this Agreement are related to sexual harassment or
                             sexual abuse.

                    (B)      Release of Claims by Claimants. Upon the entry of the Order Granting
                             Approval, each Claimant, on his or her behalf, and on behalf of his or her
                             respective current, former and future heirs, assigns, spouses, executors,
                             administrators, agents, and attorneys, further shall fully release and discharge
                             Releasees of and from any and all federal, state, local, and common law wage and
                             hour claims (including, but not limited to, all claims that were asserted in the
                             Complaint in the Litigation, docket entry 10) arising from his or her employment
                             (or alleged employment or joint employment) with any of the Releasees,
                             including statutory claims, whether known or unknown, in law or in equity,
                             including, but not limited to, any and all federal, state, local, and common law
                             wage and hour claims, including FLSA claims (including but not limited to claims
                             under 29 U.S.C. § 206, 207, 211(c) and 215(a)) and unjust enrichment claims, and
                             those arising under Michigan Law, as well as liquidated damages, that accrued or
                             accrue prior to the Effective Date, including claims under any legal theory for
                             failure to pay minimum wage, failure to pay overtime, failure to pay for all hours
                             worked, failure to provide meal and rest periods, failure to timely pay final wages,
                             failure to reimburse for business expenses, and/or failure to furnish accurate wage
                             statements or other notices, failure to keep accurate records, and any and all
                             claims for recovery of compensation, overtime pay, minimum wage, premium
                             pay, interest, and/or penalties, claims under the ERISA that are related to or
                             derivative of the claims released in this Section 3.8(B), other penalties, related tort
                             and punitive and liquidated damages claims, and/or violations of any other state
                             or local statutory and common law wage and hour claims.


                                                               16
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                      PageID.403       Page 18 of 26



                             This Settlement is intended to include in its effect all claims identified in this
                             Section 3.8(B), including wage and hour claims that each Claimant does not know
                             or suspect to exist in his or her favor against Releasees as of the Effective Date.
                             Claimants agree and acknowledge that they have had the opportunity to seek the
                             advice of counsel, and this shall be deemed a knowing and voluntary waiver.
                             Claimants shall be deemed to have expressly waived and relinquished, to the
                             fullest extent permitted by law, the provisions, rights, and benefits they may
                             otherwise have had relating to the claims identified in this Section 3.8(B).

                    (C)      Plaintiff hereby agrees that he shall not seek and hereby waives any claim for
                             employment or re-employment (as a full-time or part-time employee) or
                             assignment or work (as a temporary worker, independent contractor or consultant)
                             or, in the event of a merger or acquisition, continued employment or assignment
                             or work or any other position in which he receives payment either directly or
                             indirectly from any of the Releasees, including any Amazon or Amazon-affiliated
                             entity, and that his General Release shall be a complete bar to any such
                             application, employment, continued employment, re-employment, or work.

                    (D)      Nothing in this Release shall prohibit or restrict Plaintiff, Claimants, or Releasees,
                             from: (i) providing information to or cooperating with Congress, the Securities
                             and Exchange Commission (“SEC”), the Commodity Futures Trading
                             Commission (“CFTC”), the Consumer Financial Protection Bureau (“CFPB”), the
                             EEOC, the Occupational Safety and Health Administration (“OSHA”), the
                             National Labor Relations Board (“NLRB”), Department of Justice (“DOJ”) or
                             any other federal, state, or local government, regulatory, or law enforcement
                             agency (“Government Agencies”), the Financial Industry Regulatory Authority
                             (“FINRA”) or the “New York Stock Exchange, Inc. (“NYSE”), or any other self-
                             regulatory organization (“SRO”); (ii) reporting to any of the Releasees’
                             management or directors regarding conduct the employee believes to be in
                             violation of the law or prohibits or restricts the employee from providing
                             information to or cooperating with any Government Agencies or any SROs;
                             (iii) communicating with any Government Agencies or SRO or otherwise
                             participating in any investigation or proceeding that may be conducted by any
                             Government Agency or SRO, including providing documents or other
                             information; or (iv) receiving an award for information provided to any
                             Government Agencies other than for charges filed with the EEOC or
                             corresponding state or local agency as set forth above. Plaintiff and Claimants
                             may also disclose confidential information, including trade secrets, to (a) any
                             government, regulatory or self-regulatory agency, including under Section 21F of
                             the Securities and Exchange Act of 1934, Section 23 of the Commodity Exchange
                             Act of 1936, or Section 7 of the Defend Trade Secrets Act of 2016 (“Defend
                             Trade Secrets Act”) and the rules thereunder, or (b) an attorney in connection with
                             the reporting or investigation of a suspected violation of law or to an attorney or
                             in a court filing under seal in connection with a retaliation or other lawsuit or
                             proceeding, as permitted under the Defend Trade Secrets Act. Plaintiff and
                             Claimants do not need the prior authorization of Defendants to make these
                             disclosures or provide evidence or other information to any government,

                                                              17
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                      PageID.404       Page 19 of 26



                             regulatory, or self-regulatory agency, and Plaintiff and Claimants are not required
                             to notify Defendants that they have done so.

                    (E)      Plaintiff and Claimants further covenant that they will not participate in any other
                             legal actions against Defendants for claims released by this Settlement, and will
                             not opt-in, will withdraw any opt-in, will dismiss the action or themselves from
                             the action in actions where they are a claimant, plaintiff or appellant, and will opt-
                             out of those actions if they become aware of such actions.

                    (F)      Plaintiff certifies that he has returned all property of the Defendants or any
                             Releasees in her possession or control, including without limitation, equipment,
                             telephones, credit cards, keys, pagers, tangible proprietary information,
                             documents, computers and computer discs, personal data assistants, files and data,
                             which she prepared or obtained during the course of his employment, or alleged
                             employment or joint employment, with any of the Defendants with the exception
                             of any personnel, human resources, or pay records provided to him by any of the
                             Defendants.

                    (G)      Release of Fees and Costs for Settled Matters. Class Counsel and Plaintiff, on
                             behalf of the FLSA Collective and each Claimant, hereby irrevocably and
                             unconditionally release, acquit, and forever discharge any claim that they may
                             have against Defendants or Releasees for attorneys’ fees or costs associated with
                             Class Counsel’s representation of Plaintiff, the FLSA Collective, and the
                             Claimants in the Litigation, the Settlement, or any claims being Released by this
                             Stipulation and related papers specific to this Settlement and Litigation, only.
                             Class Counsel further understand and agree that any fee payments approved by
                             the Court will be the full, final, and complete payment of all attorneys’ fees and
                             costs associated with Class Counsel’s representation of these individuals and/or
                             their representation in the Litigation.

            3.8     Future Inquiries. It is the Parties’ desire that this Agreement be the final resolution of
                    any disputes that were or could have been included in this Litigation. Notwithstanding
                    Section 3.4, and to the extent consistent with Class Counsel’s legal and ethical
                    obligations, anyone employed by any of the Releasees as a Non-Exempt Employee who
                    does not participate in the settlement and later contacts Class Counsel expressing interest
                    in pursuing claims, will be presented by Class Counsel to Releasees for settlement
                    consistent with the terms of this Agreement before filing any individual, class, or
                    collective claims, though doing so will not entitle Class Counsel to any additional
                    attorneys’ fees or costs. Class Counsel represents that other than Plaintiff and those who
                    have opted into the Litigation, Class Counsel does not have any other current clients who
                    would form part of this purported collective who have wage and hour claims against any
                    of the Releasees. Additionally, Class Counsel is not aware of any individuals who would
                    be part of this collective contemplating wage and hour claims against any of the
                    Releasees.

            3.9     No Assignment. Class Counsel and Plaintiff represent and warrant that they have not
                    assigned or transferred, or purported to assign or transfer, to any person or entity, any

                                                              18
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                       PageID.405       Page 20 of 26



                    claim or any portion thereof or interest therein, including, but not limited to, any interest
                    in the Litigation, or any related action.

            3.10    Non-Admission. Nothing relating to this Agreement, or any communications, papers, or
                    orders related to the Settlement, shall be cited to as, construed to be, admissible as, or
                    deemed an admission by Defendants or Releasees of any liability, culpability, negligence,
                    or wrongdoing toward the Plaintiff, the FLSA Collective Members, or any other person,
                    and Defendants and Releasees specifically disclaim (i) any liability, culpability,
                    negligence, or wrongdoing toward the Plaintiff, the FLSA Collective Members, or any
                    other person; (ii) that class or collective action certification is appropriate in this or any
                    other matter; or (iii) that Amazon is an employer or joint employer of Plaintiff, FLSA
                    Collective Members, Claimants, or anyone they seek to represent in the Litigation. Each
                    of the Parties has entered into this Stipulation with the intention to avoid further disputes
                    and litigation with the attendant inconvenience, expenses, and contingencies. This
                    Agreement, and any communications, papers, or orders related to the Settlement, may not
                    be cited to, used, or admitted as evidence (i) of liability; (ii) that class or collective action
                    certification is appropriate; or (iii) that Amazon is an employer or joint employer of
                    anyone. There has been no determination by any court as to (i) the merits of the claims
                    asserted by Plaintiff against Defendants; (ii) whether a class or collective should be
                    certified, other than for settlement purposes only; or (ii) whether Amazon is an employer
                    or joint employer of anyone, including Plaintiff, FLSA Collective Members, or
                    Claimants.

            3.11    Non-Disparagement. Plaintiff agrees not to make disparaging comments relating to
                    Defendants’ compensation of him.

            3.12    Liquidated Damages for Breach. In the event of a breach by Plaintiff of the terms of
                    Section 3.11, Plaintiff agrees that Defendants shall be entitled to liquidated damages in an
                    amount equal to all payments made to that individual under this Agreement. Plaintiff
                    agrees that a breach of Section 3.11 constitutes a breach of this Agreement and that it
                    would be impossible or impracticable to compute the actual damages resulting from such
                    breach, and the liquidated damages amount set forth in this Agreement is reasonable in
                    light of the anticipated damage Defendants would suffer from a breach of Section 3.11.
                    Plaintiff agrees that the liquidated damages provision is in addition to, and not in lieu of,
                    any rights, damages, or remedies that Defendants may have available pursuant to federal,
                    state, or local law.

            3.13    Non-Interference With Settlement. Pending the Court’s decision on final approval of
                    the Settlement and entry of the Court’s Final Order and Judgment, Plaintiff, Claimants,
                    and anyone acting on behalf of them shall be barred and enjoined from: (a) further
                    prosecution of the Litigation; (b) filing, or taking any action directly or indirectly, to
                    commence, prosecute, pursue or participate in a class or collective action basis any
                    action, claim or proceeding against Defendants in any forum in which any of the claims
                    subject to the Settlement (and specific to the FLSA Collective) are asserted, or which in
                    any way would prevent any such claims from being extinguished; or (c) seeking, whether
                    on a conditional basis or not, certification of a class or collective action that involves any
                    such claims.

                                                               19
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                     PageID.406       Page 21 of 26



            3.14    Returns and/or Destruction of Confidential Settlement Materials. Plaintiff and Class
                    Counsel agree to return and/or destroy all documents and materials designated as
                    “Confidential” pursuant to the Federal Rule of Evidence 408 or produced to them in
                    connection with settlement negotiations in the Litigation.

            3.15    Miscellaneous.

                    (A)      Cooperation Between the Parties; Further Acts. The Parties shall cooperate
                             fully with each other and shall use their reasonable best efforts to obtain the
                             Court’s approval of this Agreement and all of its terms. Each of the Parties, upon
                             the request of any other party, agrees to perform such further acts and to execute
                             and deliver such other documents as are reasonably necessary to carry out the
                             provisions of this Agreement.

                    (B)      Entire Agreement. This Agreement constitutes the entire agreement between the
                             Parties with regard to the subject matter contained herein, and all prior and
                             contemporaneous negotiations and understandings between the Parties shall be
                             deemed merged into this Agreement.

                    (C)      Binding Effect. This Agreement shall be binding upon the Parties and Class
                             Counsel, with respect to Plaintiff and the Claimants, their spouses, children,
                             representatives, heirs, administrators, executors, beneficiaries, conservators,
                             attorneys, and assigns.

                    (D)      Severability. Should any clause, sentence, provision, paragraph, or part of this
                             Agreement be adjudged by any court of competent jurisdiction, or be held by any
                             other competent governmental authority having jurisdiction, to be illegal, invalid,
                             or unenforceable, such judgment or holding shall not affect, impair, or invalidate
                             the remainder of this Agreement, but shall be confined in its operation to the
                             clause, sentence, provision, paragraph, or part of the Agreement directly involved,
                             and the remainder of the Agreement shall remain in full force and effect.

                    (E)      Arm’s Length Transaction; Materiality of Terms. The Parties have negotiated
                             all the terms and conditions of this Agreement at arm’s length. All terms and
                             conditions of this Agreement in the exact form set forth in this Agreement are
                             material to this Agreement and have been relied upon by the Parties in entering
                             into this Agreement.

                    (F)      Captions. The captions or headings of the sections and paragraphs of this
                             Agreement have been inserted for convenience of reference only and shall have
                             no effect upon the construction or interpretation of any part of this Agreement.

                    (G)      Construction. The determination of the terms and conditions of this Agreement
                             has been by mutual agreement of the Parties. Each party participated jointly in the
                             drafting of this Agreement, and therefore the terms and conditions of this
                             Agreement are not intended to be, and shall not be, construed against any party by
                             virtue of draftsmanship.


                                                              20
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                     PageID.407       Page 22 of 26



                    (H)      Governing Law. This Agreement shall in all respects be interpreted, enforced
                             and governed by and under the laws of the State of Michigan, without regard to
                             choice of law principles, except to the extent that the law of the United States
                             governs any matter set forth herein, in which case such federal law shall govern.

                    (I)      Waivers, etc. to Be in Writing. No waiver, modification or amendment of the
                             terms of this Agreement, whether purportedly made before or after the Court’s
                             approval of this Agreement, shall be valid or binding unless in writing, signed by
                             or on behalf of all Parties and then only to the extent set forth in such written
                             waiver, modification or amendment, subject to any required Court approval. Any
                             failure by any party to insist upon the strict performance by the other party of any
                             of the provisions of this Agreement shall not be deemed a waiver of future
                             performance of the same provisions or of any of the other provisions of this
                             Agreement, and such party, notwithstanding such failure, shall have the right
                             thereafter to insist upon the specific performance of any and all of the provisions
                             of this Agreement.

                    (J)      When Agreement Becomes Effective. Except for provisions of this Agreement
                             requiring any party to act or seek Court action prior to Court approval, which
                             provisions are intended to be binding on the Parties upon mutual execution
                             hereof, this Agreement shall become fully effective upon the Effective Date.

                    (K)      Facsimile/Electronic Signatures. Any signature made and transmitted by
                             facsimile or email for the purpose of executing this Agreement shall be deemed
                             an original signature for purposes of this Agreement and shall be binding upon the
                             party whose counsel transmits the signature page by facsimile or email.

                    (L)      Extensions of Time. If any deadlines related to this Settlement cannot be met,
                             Class Counsel and counsel for Defendants shall meet and confer to reach
                             agreement on any necessary revisions of the deadlines and timetables set forth in
                             this Agreement. In the event that the Parties fail to reach such agreement, any of
                             the Parties may apply to the Court via a noticed motion for modification of the
                             dates and deadlines in this Stipulation.

                    (M)      Counterparts. The Agreement may be executed in one or more counterparts. All
                             executed counterparts and each of them shall be deemed to be one and the same
                             instrument. A complete set of original executed counterparts shall be filed with
                             the Court.

                    (N)      Third Party Beneficiaries. The Agreement shall be binding upon, and inure to
                             the benefit of, the successors and assigns of the Parties hereto; but this Agreement
                             is not designed to and does not create any third-party beneficiaries other than third
                             parties that are identified as Releasees as defined in Section 1.27.




                                                              21
DocuSign Envelope ID: AEDF1580-6700-4DF5-BEC3-BC2FC207CB40
         Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                     PageID.408      Page 23 of 26



             NAMED PLAINTIFF:


                           6/7/2019
             DATED: ___________________                      By: ______________________________________
                                                                 Aaron Smith

             DEFENDANTS:
                                                             HOWARD & HOWARD ATTORNEYS


             DATED: June 6, 2019                             By: /s/ Daniel L. Villaire (w/ Permission)
                                                                 On Behalf of Silverstar, LTD
                                                             Attorneys for Silverstar, LTD

                                                             MORGAN, LEWIS & BOCKIUS LLP

             DATED: June 6, 2019                             By: /s/ Meredith E. Riccio (w/ Permission)
                                                                 On Behalf of Amazon.com LLC and
                                                                 Amazon.com Services, Inc.
                                                             Attorneys for Amazon.com LLC, and Amazon.com
                                                             Services, Inc.
             CLASS COUNSEL AS TO FORM
             AND CONTENT:
                                                             DICELLO LEVITT GUTZLER LLC

             DATED: June 6, 2019                             By: /s/ Laura E. Reasons


                                                             Attorneys for Plaintiff and the Settlement Class




                                                              22
Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19   PageID.409   Page 24 of 26




                     EXHIBIT A
Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                  PageID.410      Page 25 of 26



                 IN  THE   UNITED   STATES    DISTRICT                      COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN

  AARON SMITH, individually and on
  behalf of all similarly situated individuals,

                     Plaintiff,
          v.                                          Case No. 2:18-cv-10501-DML-RSW

  SILVERSTAR DELIVERY, LTD.,                          Hon. David M. Lawson
  AMAZON.COM, LLC, and AMAZON.COM
  SERVICES, INC.,                                     Magistrate Judge R. Steven Whalen

                     Defendants.


    [PROPOSED] ORDER GRANTING APPROVAL AND DISMISSING THE ACTION
   WITHOUT PREJUDICE, TO AUTOMATICALLY CONVERT TO WITH PREJUDICE

          Aaron Smith (“Plaintiff”), on behalf of himself and others similarly situated who have

  joined the case as party plaintiffs by filing their Consent to Join forms (“Claimants”) has filed a

  Renewed Unopposed Motion for Approval of Collective Action Settlement and Plaintiff’s

  Attorneys’ Fees and Costs (“Renewed Motion for Approval”). After reviewing the Renewed

  Motion for Approval, together with the First Amended Joint Stipulation of Settlement and

  Release (the “Agreement”), the Court finds and orders as follows:

          1.     The settlement memorialized in the Agreement is fair, reasonable, and adequate.

  It is the result of arms’-length negotiations between experienced attorneys who are familiar with

  FLSA collective litigation in general, and with the legal and factual issues of this case in

  particular.

          2.     The Parties are ordered to carry out the settlement according to the terms of the

  Agreement.

          3.     The Court approves Plaintiff’s Service Award in the amount of $1,000 as set forth

  in the Agreement, finding that such award is fair and reasonable;




                                                  1
Case 2:18-cv-10501-DML-RSW ECF No. 44-1 filed 06/07/19                  PageID.411       Page 26 of 26



         4.      The Court approves Plaintiff’s counsels’ fees and costs in the amount of $50,000

  as set forth in the Agreement, finding that such fees and costs are fair and reasonable; and

         5.      The case is dismissed without prejudice, to convert to dismissal with prejudice in

  three months, each party to bear its own fees and costs except as otherwise provided in the

  Agreement and by this Order.

                 SO ORDERED

  Dated: __________________

                                                       Honorable David M. Lawson
                                                       United States District Court Judge




                                                   2
